                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                          )
                     Plaintiff,                    )
vs.                                                )      CASE NO. DNCW3:01CR183-5
                                                   )      (Financial Litigation Unit)
JENNIFER CARSTELLA TAYLOR,                         )
                     Defendant.                    )
and                                                )
                                                   )
ACE HARDWARE CORPORATION,                          )
                   Garnishee.                      )

                       DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment filed December 22, 2010, (Docket No. 134), in this

case against the defendant, Jennifer Carstella Taylor, is DISMISSED.



                                               Signed: August 17, 2011




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